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   7   Attorneys for Defendant Cozart

   8                           UNITED STATES DISTRICT COURT
   9                          CENTRAL DISTRICT OF CALIFORNIA
  10
       UNITED STATES OF AMERICA,                    Case No. 24-CR-00077-WLH-Def. 4.
  11
  12             Plaintiff,
       v.                                           NOTICE OF FILING OF
  13
                                                    DECLARATIONS OF DEFENSE
  14   GLEN LOUIS COZART,                           COUNSEL AND DEFENDANT
                                                    COZART IN SATISFACTION OF
  15
                  Defendant.                        BAIL CONDITIONS
  16
  17
  18
  19         Defendant Glen Louis Cozart, by and through his attorneys of record

  20   Marilyn E. Bednarski and Ben Shaw, hereby give notice of this filing of the

  21   attached declarations of defense counsel and defendant Cozart in satisfaction of the

  22   outstanding conditions of bail set August 12, 2024 and documented in the court’s

  23   CR-01 bail form (Dkt. 47).

  24                                        Respectfully Submitted,
                                            McLANE, BEDNARSKI & LITT, LLP
  25
  26    DATED: Aug. 16, 2024          By    /S/ Marilyn E. Bednarski
                                            MARILYN E. BEDNARSKI
  27                                        Attorneys for Defendant Cozart
